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                             EXHIBIT A

              Statement of Eric Schnosenberg

                      (dated June 11, 2021)
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